Case 2:04-cV-02667-.]DB-tmp Document 62 Filed 06/20/05 Page 1 of 2 Page|D 75

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UNITED STATES DISTRICT COURT 355 JUH 20 PH 2; 51*
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIV[SIQN _ ' `;. ;L T:jri§i.i:;)
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m l n mr m MCM;¢;»HS
EDGAR MCDANIEL
Plaintiff,

v. Case No. 04-2667-BP
AMERICAN GENERAL FINANCIAL
SERVICES, INC., AMERICAN
UNICORN, INC. DBA HOME S'I`ORE
COMPANY,TRI-STATE TITLE &
ESCROW AND HAYSE NELSON,

VV\_IVVVW\.¥\_JWVWV

Defendants.

 

ORDER ON UNOPPOSED MOTION OF DEFENDANT,
AMERICAN GENERAL FINANCIAL SERVICES, INC.,
FOR EXTENSION OF TIMIE TO NAME EXPERT

 

Before the Court is the Unopposed Motion of Defendant, American General Financial
Services, Inc., for Extension of Time to Name Expert. The Court hereby finds that the Motion is
Well taken and Should be granted.

IT IS, THEREFOR_E, ORDERED ADJUDGED AND DECREED that Defendant,
American General Financial Services, Inc., Shall have through completion of discovery in Which

to name an expert.

IT ls so oRDERED this 73 day Of § lou ,2005.

UNITED STATESMHJDGE
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Notice of Distribution

This notice confirms a copy of the document docketed as number 62 in
case 2:04-CV-02667 Was distributed by faX, mail, or direct printing on
June 21 , 2005 to the parties listed.

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Honorable J. Breen
US DISTRICT COURT

